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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


United States of America,

                 Plaintiff,
                                                              MEMORANDUM OPINION
          v.                                                  AND ORDER
                                                              Crim. No. 11-200 (1 & 3) ADM/FLN
John Anthony Markert, and
George Leslie Wintz, Jr.,

            Defendants.
______________________________________________________________________________

William J. Otteson, Esq., and David M. Genrich, Esq., United States Attorney’s Office, Minneapolis,
MN, on behalf of Plaintiff United States of America.

Joseph S. Friedberg, Esq., Joseph S. Friedberg, Chartered, Minneapolis, MN, on behalf of Defendant
John Anthony Markert.

Andrew M. Luger, Esq., Greene Espel, Minneapolis, MN, on behalf of Defendant George Leslie
Wintz, Jr.
______________________________________________________________________________
                                  I. INTRODUCTION

          This matter is before the undersigned United States District Judge for a ruling on Defendant

George Leslie Wintz, Jr.’s (“Wintz”) Motion for a New Trial [Docket No. 268] and Renewed Motion

for Judgment of Acquittal [Docket No. 269], as well as Defendant John Anthony Markert’s

(“Markert”) Renewed Motion for Judgment of Acquittal and for a New Trial [Docket No. 270]. The

Court has decided these motions on the briefings, and for the reasons set forth below, the motions are

denied.

                                        II. BACKGROUND

          On June 21, 2011, the Grand Jury returned an Indictment charging Wintz and Markert with
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multiple counts of banking offenses. On December 20, 2011, a Second Superseding Indictment was

returned, charging Wintz with two counts of bank fraud, five counts of aiding and abetting the

misapplication of bank funds, and one count of embezzlement from an employee retirement plan. See

Second Superseding Indictment [Docket No. 118]. The Indictment also charged Markert with one

count of bank fraud, five counts of misapplication of bank funds, and one count of making a false

statement in applying for unemployment benefits. Id.

       After a lengthy jury trial in March and April 2012, the Court dismissed the false statement count

against Markert. The jury deliberated on the remaining counts for several days, ultimately finding Wintz

guilty of bank fraud (Counts One and Two), not guilty of aiding and abetting misapplication of bank

funds (Counts Three through Seven), and guilty of embezzlement from an employee benefit plan (Count

Eleven). The jury also found Markert not guilty of bank fraud (Count Two) but guilty of misapplication

of bank funds (Counts Three through Seven).1 Wintz and Markert now bring the present motions.

                                      III. DISCUSSION

A. Wintz and Markert’s Renewed Motions for Acquittal

       Wintz and Markert again move for acquittal on the basis that the jury verdict ran counter to the

manifest weight of the evidence. Pursuant to the Federal Rules of Criminal Procedure, the court must

enter a judgment of acquittal on any offense which lacks sufficient evidence for a conviction. Fed R.

Crim. P. 29(a); United States v. Water, 413 F.3d 812, 816 (8th Cir. 2005). The standard for granting


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        A third defendant, Gregory Anthony Pederson (“Pederson”), was indicted on bank fraud,
misapplication of bank funds, and of making false statements in an unemployment benefits application.
The Court also dismissed the false statement counts against Pederson, and the jury found Pederson not
guilty on both the bank fraud and the misapplication of bank funds counts.

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acquittal is a very strict one — a court will not grant a motion for acquittal unless “no interpretation of

the evidence [] would allow a reasonable jury to find the defendant guilty beyond a reasonable doubt.”

United States v. Gomez, 165 F.3d 650, 654 (8th Cir. 1999); see United States v. Ellefson, 419 F.3d

859, 862 (8th Cir. 2005) (“This standard of review is very strict, and a jury verdict will not be

overturned lightly.”) (citation omitted). The court “views the evidence in the light most favorable to the

government, resolving evidentiary conflicts in favor of the government, and accepting all reasonable

inferences drawn from the evidence that support the jury’s verdict.” United States v. Espino, 317 F.3d

788, 791 (8th Cir. 2003).

       1. Wintz’s Motion for Acquittal

               a. Count One

       Wintz argues that the evidence presented at trial did not support the jury verdict finding him

guilty of bank fraud as charged in Count One. He contends that the evidence failed to show he

engaged in kiting checks to defraud Pinehurst Bank.

       Viewing the evidence in the light most favorable to the verdict, however, sufficient evidence was

offered at trial for a reasonable jury to conclude beyond a reasonable doubt that Wintz had engaged in

check-kiting and thereby committed bank fraud. To prove bank fraud, the Government needed to

establish that Wintz knowingly executed a scheme to defraud Pinehurst Bank, that he did so with intent

to defraud, and that Pinehurst Bank was insured by the United States Federal Deposit Insurance

(“FDIC”). See Jury Instructions [Docket No. 235] 23; 18 U.S.C. § 1344. The evidence presented at

trial established that Wintz knowingly transferred funds between accounts at Pinehurst Bank and North

Star Bank, often overdrawing his account. He wrote hundreds of checks between the FDIC-insured

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banks on a routine basis, frequently using a Remote Deposit device to facilitate repeated, instantaneous

transfers. Ultimately, Wintz’s actions resulted in a $1.8 million overdraft at Pinehurst Bank. In 1999,

Wintz had entered a corporate guilty plea to bank fraud involving a check-kiting scheme, evidence

which supports the jury’s finding that Wintz had the requisite intent to defraud.

       To support his claim that the evidence did not support the jury verdict of guilty on Count One,

Wintz cites the following evidence: (1) his longstanding practice of overdrawing his accounts and

repeatedly transferring funds between different bank accounts; (2) his hand deposits of sequential

checks; (3) Pinehurst Bank’s past practice of covering his overdrafts; and (4) his ability to cover the

overdrafts in question. All of this evidence was presented to the jury. However, taken together with

the cumulative evidence presented through trial and viewed in the light most favorable to the

Government, the jury verdict is supported by the evidence and will not be overturned.

               b. Count Two

       Wintz also moves for acquittal on the charge of bank fraud in Count Two, arguing that the

Government failed to prove he intended to defraud Pinehurst Bank by using nominee borrowers to

cover the $1.8 million overdraft. The evidence at trial supported the jury verdict, demonstrating that

Wintz made misrepresentations concerning the nominee loan scheme, that he utilized the money and that

he was the intended ultimate borrower for these loans. Evidence at trial also showed that the nominee

loan schemes enabled Wintz to circumvent Pinehurst Bank’s legal lending limit, that Wintz intended to

defraud the bank, and that the ultimate result of the nominee loan scheme was the defrauding of

Pinehurst Bank. Wintz argues no reasonable juror could have found he engaged in a nominee loan

scheme, given the nature of the borrowers and his often brazen conduct relating the loans. Given all the

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evidence, however, the jury reasonably could have found Wintz guilty beyond reasonable doubt on

Count Two.

               c. Count Eleven

       Wintz also challenges the jury verdict on Count Eleven, contending that the trial evidence failed

to establish Wintz’s intent to defraud the employee benefits plan. However, the evidence at trial was

that Wintz intentionally withheld employee funds from the Triangle Warehouse retirement plan, and that

he knew of his duty to deposit these employee retirement funds because of a previous Department of

Labor investigation. Further, trial evidence demonstrated that he misrepresented the situation to his

employees by stating he was withholding the employer contribution but failing to disclose he was

withholding the employees’ retirement funds as well. Wintz argues the jury could not have found him

guilty because the evidence showed that he was not charged in the prior Department of Labor

investigation, that he repaid the amounts previously withheld from his employee plans, and that he

intended to repay the plan in this case. Based on the evidence at trial, a reasonable jury could have

found Wintz guilty beyond a reasonable doubt of embezzlement from an employee benefit plan.

       2. Markert’s Motion for Acquittal

       Markert contends that the counts of misapplication of bank funds should be dismissed as a

matter of law and that the evidence presented at trial was insufficient to support the guilty verdicts on

these counts. The evidence against Markert was substantial, however, and a reasonable jury could

have found him guilty on these counts. As President of Pinehurst Bank, Markert managed and

conducted the nominee loan scheme which was used to obfuscate Wintz’s check-kiting scheme.

Markert’s actions contravened the bank’s legal lending limits, deceived the Board of Directors, and

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included numerous misrepresentations or omissions of material facts. The evidence presented at trial

was sufficient to find him guilty on Counts Three through Seven.

       Markert argues that despite this evidence, he should be acquitted as a matter of law because he

did not expose the bank to increased risk and did not personally benefit from the scheme. These

arguments were made to the jury and were rejected. Moreover, neither personal benefit nor actual loss

are necessary elements of misapplication of bank funds. United States v. Duncan, 598 F.2d 839, 858

(4th Cir. 1979) (“Actual loss need not be proved; rather, it is sufficient that the defendant at least

temporarily deprive the bank of the possession, control or use of its funds.”) (internal citations omitted).

“The ultimate or future possibility or probability of benefit to the bank is not a defense to a

misapplication of funds . . . . The offense occurred and was complete when the misapplication took

place.” United States v. Ness, 665 F.2d 248, 251 (8th Cir. 1981) (quoting United States v. Tidwell,

559 F.2d 262, 266 (5th Cir. 1977)). Given the state of the law and the evidence presented at trial, the

jury’s verdict was reasonable.

B. Wintz and Markert’s Motions for New Trial

       Wintz and Markert also move for a new trial. Motions for new trial are granted “if the interest

of justice so requires.” Fed. R. Crim. P. 33(a). The trial court has discretion to grant or deny the

motion, but “[u]nless the district court ultimately determines that a miscarriage of justice will occur, the

jury’s verdict must be allowed to stand.” United States v. Garcia, 646 F.3d 1061, 1066 (8th Cir.

2011) (quoting United States v. Campos, 306 F.3d 577, 579 (8th Cir. 2002)).

       Wintz moves for a new trial for five reasons: (1) the exclusion of the April 2010 Consolidation

Agreement; (2) his subsequent repayments to his employees’ 401(k) plan after October 2010; (3) the

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exclusion of testimony from three of Wintz’s employees; (4) the admission into evidence of his

corporate guilty plea on behalf of O.K. Freightways; and (5) his objections to the Court’s jury

instructions. Markert moves for a new trial on the grounds that this Court committed evidentiary errors,

and that Jury Instructions 20 and 28 were incorrect.

         All the evidentiary objections argued in by Markert and Wintz were previously raised,

considered by this Court, and ultimately overruled. The Jury Instructions accurately state the law and

closely follow the Eighth Circuit Model Criminal Jury Instructions. No miscarriage of justice will occur

without a new trial. The Court accordingly affirms its prior rulings and will not grant a new trial on this

basis.

         The jury in this case carefully considered the evidence presented and applied the law as

provided in the Jury Instructions. Their verdict, which parsed out individual defendants and individual

counts, reflects reasonableness and makes logical sense. Moreover, both Wintz and Markert were

represented by extremely skilled and highly regarded counsel who zealously advocated on their behalf.

The Court is fully satisfied that both defendants were given a full, fair trial of their case.

                                        IV. CONCLUSION

         Based upon the foregoing, and all of the files, records, and proceedings herein, IT IS

HEREBY ORDERED that:

                1.      Defendant George Leslie Wintz, Jr.’s Motion for a New Trial [Docket No.

                        268] is DENIED; and

                2.      Defendant George Leslie Wintz, Jr.’s Renewed Motion for Judgment of

                        Acquittal [Docket No. 269] is DENIED;

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             3.      Defendant John Anthony Markert’s Renewed Motion for Judgment of

                    Acquittal and for a New Trial [Docket No. 270] is DENIED.




                                               BY THE COURT:




                                                     s/Ann D. Montgomery
                                               ANN D. MONTGOMERY
                                               U.S. DISTRICT JUDGE

Dated: September 17, 2012.




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